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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case No. 8:05-cr-342-T-24 TGW

KELLY ABERCROMBIE

____________________________/

                                             ORDER
       This cause comes before the Court on Defendant Abercrombie’s Motion to Dismiss
Count One of the Indictment. (Doc. No. 32). The Government opposes this motion. (Doc. No.
50).
I. Background
       Defendant Abercrombie is charged in a twenty-one count indictment for conspiracy to
commit mail fraud and wire fraud (Count One), mail fraud (Counts Two through Eleven), and
wire fraud (Counts Twelve through Twenty-One). In Count One, conspiracy to commit mail
fraud and wire fraud, the indictment charges Defendant Abercrombie with joining in a scheme to
obtain mortgage loans in amounts in excess of the true market values of properties sold to inside
“straw purchasers.” Additionally, Count One charges Abercrombie with using U.S. mails and
interstate wire transmissions in connection with the scheme. (Doc. No. 1, p. 6, 8).
II. Motion to Dismiss
       Defendant Abercrombie moves to dismiss Count One, because she argues that (1) there
are no specific allegations of fact to support the allegation that Defendants caused mailings and
wire transmissions in furtherance of their scheme, as required by Federal Rule of Criminal
Procedure 7(c)(1); and (2) there are no allegations of facts to support the assertions that she
joined in the scheme and that she made false or fraudulent documents. Accordingly, the Court
will address each argument.
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       A. Specific Allegations of Mailings and Wire Transmissions
       Rule 7(c)(1) provides that the indictment “must be a plain, concise, and definite written
statement of the essential facts constituting the offense charged.” Defendant Abercrombie
argues that Count One should be dismissed, because there are no specific allegations of fact to
support the allegation that Defendants caused mailings and wire transmissions in furtherance of
their scheme. Defendant Abercrombie cites U.S. v. Strauss, 283 F.2d 155 (5th Cir. 1960), in
support of her argument that the failure to allege such facts should result in the dismissal of the
conspiracy count. The Court rejects this argument, because Strauss is distinguishable from the
instant case.
       In Strauss, the indictment charged Strauss with conspiring to commit mail fraud and to
violate the Bankruptcy Act. See id. at 157. The only reference to the use of mails in the
conspiracy count was the allegation that the acts done in connection with the conspiracy were in
violation of the mail fraud statute. See id. at 160 n.6. The lower court dismissed the conspiracy
count, and the appellate court affirmed, stating that the conspiracy to commit mail fraud count
was insufficient because there was nothing to support the count beyond the statement of a legal
conclusion that the mail fraud statute was violated. See id.
       In the instant case, Count One alleges that it was part of the conspiracy that the
conspirators would and did use U.S. mails and interstate wire transmissions in connection with
their scheme. (Doc. No. 1, p. 6, 8). The Court finds that this is sufficient.
       Furthermore, the Court notes that “[a]n indictment is sufficient if it contains the elements
of the offense charged, fairly informs the defendant what charge he must be prepared to meet,
and enables the accused to plead acquittal or conviction in bar of future prosecutions for the
same offense.” U.S. v. Gordon, 780 F.2d 1165, 1169 (5th Cir. 1986)(citations omitted). “[T]he
essential elements of a conspiracy are an agreement by two or more persons to combine efforts
for an illegal purpose and an overt act by one of the members in furtherance of the agreement.”
Id. at 1170. Actual use of the mails or of a wire transmission is not an element that must be


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proven for a conspiracy charge. See U.S. v. Massey, 827 F.2d 995, 1001 (5th Cir. 1987)(citations
omitted); U.S. v. Donahue, 539 F.2d 1131, 1136 (8th Cir. 1976).
       Upon review of the indictment, the Court finds that the indictment complies with the
requirements of Rule 7 and adequately alleges the essential elements of a conspiracy. As such,
the Court denies Defendant Abercrombie’s motion on this issue.
       B. Specific Allegations of Joining the Scheme and Making False Documents
       Next, Defendant Abercrombie argues that Count One should be dismissed, because there
are no allegations of facts to support the assertions that she joined in the scheme and that she
made false or fraudulent documents. For the reasons stated below, the Court denies Defendant
Abercrombie’s motion on this issue.
       The indictment alleges that Defendant Abercrombie: (1) owned and controlled NXCSS,
LLC, which bought and sold real property, (2) owned and controlled Sovereign Mortgage
Corporation, which is a mortgage company that sold mortgages to Home Star, and (3) created
and controlled Preferred Appraisal Group, which was a sham company that purportedly
performed market value appraisals of real property and prepared appraisal reports. (Doc. No. 1,
p. 2). The indictment also alleges in detail that Defendant Abercrombie and the entities
described above engaged in certain real estate transactions in order to carry out the conspiracy.
(Doc. No. 1, p. 3-14). As such, the Court rejects Defendant Abercrombie’s argument that there
are no allegations of facts to support the assertion that she joined in the scheme.
       Likewise, the Court rejects Defendant Abercrombie’s argument that there are no
allegations of facts to support the assertion that she made false or fraudulent documents. For
example, the indictment contains allegations that Defendant Abercrombie caused one or more of
the following false documents to be made: (1) sham appraisal reports that falsely represented the
market values of properties, (2) earning statements and income tax returns that falsely
represented the earnings of applicants/borrowers, (3) bank statements and investment accounts
that falsely and fraudulently represent the amount of funds in accounts in the names of


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applicants/borrowers, (4) false and fraudulent leases, and (5) statements that falsely and
fraudulently represented the salary of applicants/borrowers. (Doc. No. 1, p. 5-14).
III. Conclusion
       Accordingly, it is ORDERED AND ADJUDGED that Defendant Abercrombie’s Motion
to Dismiss Count One of the Indictment (Doc. No. 32) is DENIED.

       DONE AND ORDERED at Tampa, Florida, this 12th day of June, 2006.




Copies to:
Counsel of Record




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